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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
                           __________________________________

Family Rehabilitation, Inc., d/b/a Family Care
Texas, d/b/a Angels Care Home Health;
 
        Plaintiff,
v.
                                                     Civil Action No. 3:17-CV-3008-K
Alex M. Azar, II, Secretary of the United States
Department of Health and Human Services; and
Seema Verma, Acting Administrator for the
Centers for Medicare and Medicaid Services;

        Defendants.
 

       DEFENDANTS’ UNOPPOSED MOTION FOR A STAY OF THEIR TIME TO
                   RESPOND TO PLAINTIFF’S COMPLAINT

        Defendants, by and through their undersigned counsel, respectfully move for a stay of

their time to file a response to Plaintiff’s Complaint. Plaintiff’s counsel has informed

Government counsel that Plaintiff does not oppose this motion.

        On October 31, 2017, Plaintiff filed a verified complaint for a temporary restraining order

and preliminary injunction. Two days later, on November 2, 2017, the Court denied the motion

and dismissed the case. Following Plaintiff’s appeal, the Fifth Circuit affirmed in part and

reversed in part and issued the mandate on May 21, 2018. Two days after that, on May 23,

Plaintiff filed an amended verified complaint for a temporary restraining order and preliminary

injunction. Following the parties’ briefing and oral argument, this Court entered a preliminary

injunction on June 28, 2018.

        The Government has until August 27, 2018, to decide whether to appeal this decision. In

the interim, the parties have discussed the matter and agreed that it is appropriate to stay

Defendants’ time to respond to Plaintiff’s complaint.
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       Accordingly, Defendants respectfully request that this Court enter an order staying their

time to respond to Plaintiffs’ complaint.

Dated: July 18, 2018                                  Respectfully submitted,

                                                      CHAD A. READLER
                                                      Acting Assistant Attorney General

                                                      JENNIFER D. RICKETTS,
                                                      Branch Director, Federal Programs Branch

                                                      /s/Nicholas Cartier
                                                      NICHOLAS CARTIER
                                                      Trial Attorney
                                                      U.S. Department of Justice
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                              CERTIFICATE OF CONFERENCE

       This is to certify that the parties have conferred about this motion and are in agreement as

noted in the body of the motion.

                                                      /s/Nicholas Cartier
                                                      NICHOLAS CARTIER


                                 CERTIFICATE OF SERVICE

       On July 18, 2018, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing

system of the court. I hereby certify that I have served all parties electronically or by another

manner authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                      /s/ Brian W. Stoltz
                                                      Brian W. Stoltz
                                                      Assistant United States Attorney
